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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION
TANYA BATTEN, Case No.: 5:18-cv-483-oc-30-PRL
Plaintiff,

Vv.

BARFIELD & ASSOCIATES, LLC
and TODD L. BARFIELD,

Defendants.
/

 

ANSWER AND AFFIRMATIVE DEFENSES

COME NOW, Defendants, BARFIELD & ASSOCIATES, LLC, a Florida limited
liability corporation and TODD L. BARFIELD (“Defendants”), by and through their
undersigned counsel, and hereby answer and affirmatively defend the First Amended
Complaint (‘Amended Complaint”) filed by Plaintiff, TANYA BATTEN (“Plaintiff’), as
follows:

ANSWER

1, Defendants admit the allegations asserted in Paragraph 1 of the Amended
Complaint that Plaintiff brought an “action for unpaid overtime compensation and other
relief under the Fair Labor Standards Act, as amended, 29 U.S.C. § 216(b) (the ‘FLSA’),”

and deny Plaintiff is entitled to any relief and/or damages.

2. Defendants deny the allegations asserted in Paragraph 2 of the Amended
Complaint.

3, Defendants admit the allegations asserted in Paragraph 3 of the Amended
Complaint.

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4, Defendants admit the allegations asserted in Paragraph 4 of the Amended
Complaint.

5. Defendants admit the allegations asserted in Paragraph 5 of the Amended
Complaint.

6. Defendants deny the allegations asserted in Paragraph 6 of the Amended
Complaint.

7. Defendants neither admit nor deny the conclusion of law asserted at Paragraph

7 of the Amended Complaint.
8. Defendants neither admit nor deny the conclusion of law asserted at Paragraph

8 of the Amended Complaint.

9. Defendants deny the allegations asserted in Paragraph 9 of the Amended
Complaint.
10. | Defendants neither admit nor deny the conclusion of law asserted at Paragraph

10 of the Amended Complaint.
11. Defendants deny the allegations asserted in Paragraph 11 of the Amended

Complaint.

a. Defendants are without knowledge, and therefore deny the allegations
asserted in Paragraph 11(a) of the Amended Complaint.

b. Defendants deny the allegations asserted in Paragraph 11(b) of the
Amended Complaint.

c. Defendants deny the allegations asserted in Paragraph 11(c) of the

Amended Complaint.

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12. Defendants deny the allegations asserted in Paragraph 12 of the Amended

Complaint.
13. Defendants deny the allegations asserted in Paragraph 13 of the Amended
Complaint.
a. Defendants deny the allegations asserted in Paragraph 13(a) of the
Amended Complaint.
b. Defendants deny the allegations asserted in Paragraph 13(b) of the

Amended Complaint.

c. Defendants are without knowledge, and therefore deny the allegations

asserted in Paragraph 13(c) of the Amended Complaint.

d. Defendants deny the allegations asserted in Paragraph 13(d) of the
Amended Complaint.
e. Defendants deny the allegations asserted in Paragraph 13(e) of the

Amended Complaint.
14. Defendants deny the allegations asserted in Paragraph 14 of the Amended

Complaint.

a. Defendants deny the allegations asserted in Paragraph 14(a) of the
Amended Complaint.

b. Defendants are without knowledge and therefore deny the allegations
asserted in Paragraph 14(b) of the Amended Complaint.

Cc. Defendants admit that Plaintiff had no office at Defendants’ office,

that she was supplied keys to Defendants’ office to pick up files on any work Plaintiff

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scheduled for herself, that Plaintiff was provided a Trespass Notice on September 24, 2018,
and deny all other allegations asserted in Paragraph 14(c) of the Amended Complaint.

d. Defendants deny the allegations asserted in Paragraph 14(d) of the
Amended Complaint.

e. Defendants are without knowledge, and therefore deny the allegations
asserted in Paragraph 14(e) of the Amended Complaint.

15. | Defendants deny the allegations asserted in Paragraph 15 of the Amended
Complaint.

a. Defendants deny the allegations asserted in Paragraph 15(a) of the
Amended Complaint, and affirmatively state Plaintiff provided her services to other
appraisers or appraisal companies as evidenced in her text messages to Defendants attached
hereto as Exhibit “1.”

b. Defendants deny the allegations asserted in Paragraph 15(b) of the
Amended Complaint.

c. Defendants are without knowledge, and therefore deny the allegations
asserted in Paragraph 15(c) of the Amended Complaint.

16. Defendants deny the allegations asserted in Paragraph 16 of the Amended
Complaint.

a. Defendants admit Defendant Barfield holds the necessary state
licenses from the state of Florida and is without knowledge as to the remaining allegations
asserted in Paragraph 16(a) of the Amended Complaint.

b. Defendants admit the allegations asserted in Paragraph 16(b) of the

Amended Complaint.

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C. Defendants are without knowledge, and therefore deny the allegations
asserted in Paragraph 16(c) of the Amended Complaint.

17. Defendants deny the allegations asserted in Paragraph 17 of the Amended
Complaint.

18. Defendants deny the allegations asserted in Paragraph 18 of the Amended
Complaint.

a. Defendants are without knowledge, and therefore deny the allegations
asserted in Paragraph 18(a) of the Amended Complaint.

b. Defendants are without knowledge, and therefore deny the allegations
asserted in Paragraph 18(b) of the Amended Complaint.

c. Defendants admit Plaintiff had an e-mail specific to Defendants’
business, but affirmatively state that Plaintiff usually and primarily used her personal G-mail
account, i.e. t.batten01@gmail.com, as evidenced in exhibits attached to Plaintiff's Amended
Complaint.

d. Defendants are without knowledge, and therefore deny the allegations
asserted in Paragraph 18(d) of the Amended Complaint.

19. Defendants repeat and reassert their answers to paragraphs 1 through 18
above, including any and all subparts, as if fully set forth herein.

20. Defendants deny the allegations asserted in Paragraph 20 of the Amended
Complaint.

21. Defendants deny the allegations asserted in Paragraph 21 of the Amended

Complaint.

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22. Defendants deny the allegations asserted in Paragraph 22 of the Amended
Complaint.

23. Defendants admit the allegations asserted in Paragraph 23 of the Amended
Complaint.

24. Defendants deny the allegations asserted in Paragraph 24 of the Amended
Complaint.

25. Defendants deny the allegations asserted in Paragraph 25 of the Amended
Complaint.

26. Defendants deny any allegations set forth in any WHEREFORE clause of the
Amended Complaint, and deny Plaintiff is entitled to any relief requested.

27. Any allegations in the Amended Complaint not specifically admitted or
denied above are hereby specifically denied.

WHEREFORE, Defendants, BARFIELD & ASSOCIATES, LLC, a Florida limited
liability corporation and TODD L. BARFIELD, demand this Court dismiss, with prejudice,

the above action.

AFFIRMATIVE DEFENSES
Defendants allege the following affirmative defenses. Any allegations raised in the
affirmative defenses below are raised strictly for the purpose of defending against this instant
action and should not be considered admissions of Defendants as to any factual, legal or

other matters. As and for Defendants’ affirmative defenses, Defendants assert the following:

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FIRST AFFIRMATIVE DEFENSE

As and for Defendants’ First Affirmative Defense, Defendants assert Plaintiff has
failed to sufficiently plead or properly state a cause of action upon which relief can be
granted. The Plaintiff neither alleges with any specificity any factual allegations to establish
the requisite elements of any action against Defendants, nor does Plaintiff set forth ultimate
facts to show Plaintiff is entitled to any relief. As such, Plaintiff's claims should be
dismissed.

SECOND AFFIRMATIVE DEFENSE

As and for Defendants’ Second Affirmative Defense, Defendants assert that
Plaintiff's claims, pursuant to Fair Labor Standards Act, 29 U.S.C. § 201, ef seg. (“FLSA”),
are barred as Plaintiff was, at no time an employee of Defendants, but was retained as an
independent contractor for purposes of Plaintiff obtaining appraisal experience to provide to
the Florida Real Estate Appraisal Board in order for Plaintiff to obtain an Appraiser Trainee
license. As an independent contractor, Plaintiff established her own entity, worked for other
appraisal firms, determined and scheduled appraisals with local realtors, local businesses, and
local property owners, Plaintiff prepared appraisal reports at her discretion for review by the
licensed appraiser, and Plaintiff utilized her own vehicle, mobile phone, computer, printer,
electric services, internet services, office supplies, etc., in performing these services to
Defendants and the other appraisal firms with whom Plaintiff contracted.

THIRD AFFIRMATIVE DEFENSE

As and for Defendants’ Third Affirmative Defense, Defendants assert that Plaintiff's

claims, pursuant to FLSA, are barred as Defendants’ business does not have gross revenue of

at least $500,000, nor does it have employees engaged in interstate commerce or in the

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production of goods for interstate commerce, or the handling, selling or otherwise working
on goods or materials that have been moved or produced for interstate commerce.
FOURTH AFFIRMATIVE DEFENSE
As and for Defendants’ Fourth Affirmative Defense, Defendants assert that Plaintiff's
claims, pursuant to FLSA, are barred as Plaintiff was not an employee engaged in interstate
commerce or in the production of goods for interstate commerce, nor did Plaintiff directly
participate in the actual movement of persons or things in interstate commerce by working
for an instrumentality of interstate commerce or by regularly using the instrumentalities of
interstate commerce in her work, as Plaintiff's work consisted of assisting a licensed
appraiser in appraising real property located only in the state of Florida. |
FIFTH AFFIRMATIVE DEFENSE
As and for Defendants’ Fifth Affirmative Defense, Defendants at all times material
hereto, acted in good faith and had reasonable grounds for believing their actions were in
compliance with the FLSA.
SIXTH AFFIRMATIVE DEFENSE
As and for Defendants’ Sixth Affirmative Defense, Defendants at no time, showed
reckless disregard for whether its conduct was prohibited by the FLSA.
SEVENTH AFFIRMATIVE DEFENSE
As and for Defendants’ Seventh Affirmative Defense, Defendants invoke any and all

defenses, protections and limitations of the FLSA.

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EIGHTH AFFIRMATIVE DEFENSE
As and for Defendants’ Eighth Affirmative Defense, Defendants assert Plaintiff's
claims are barred, to the extent she seeks recovery for time that is not compensable in
accordance with FLSA.
NINTH AFFIRMATIVE DEFENSE
As and for Defendants’ Ninth Affirmative Defense, Defendants are entitled to offset
monies or other consideration stolen, paid, or provided to Plaintiff of which she was not
entitled, or for periods in which Plaintiff was not engaged in work at Defendants.
TENTH AFFIRMATIVE DEFENSE
As and for Defendants’ Tenth Affirmative Defense, Defendants assert that Plaintiff is
not entitled to liquidated damages as Defendants did not act or fail to act in a manner
sufficient to give rise to any liquidated damages claims or liability.
ELEVENTH AFFIRMATIVE DEFENSE
As and for Defendants’ Eleventh Affirmative Defense, Defendants assert, without
shifting the burden of proof, that Plaintiff was compensated as an independent contractor in
accordance with the applicable laws governing Florida Real Estate Appraisers, as well as
other applicable Florida law, for all hours worked.
TWELFTH AFFIRMATIVE DEFENSE
As and for Defendants’ Twelfth Affirmative Defense, Defendants assert that
Plaintiff's claims are estopped by the submission of her own records, for which Defendants

compensated Plaintiff for all appraisal jobs in which she assisted and claimed in her records.

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THIRTEENTH AFFIRMATIVE DEFENSE
As and for Defendants’ Thirteenth Affirmative Defense, Defendants assert that
Plaintiff's claims are barred, in whole or in part, by her failure to mitigate her alleged
damages.
FOURTEENTH AFFIRMATIVE DEFENSE
As and for Defendants’ Fourteenth Affirmative Defense, Defendants assert that
Plaintiff's claims are barred, in whole or in part, pursuant to the doctrines of waiver, estoppel
and/or laches.
FIFTEENTH AFFIRMATIVE DEFENSE
As and for Defendants’ Fifteenth Affirmative Defense, Defendants assert that
Plaintiffs claims are barred, in whole or in part, by accord and satisfaction, settlement and/or
payment and release.
SIXTEENTH AFFIRMATIVE DEFENSE
As and for Defendants’ Sixteenth Affirmative Defense, Defendants’ actions were in
good faith conformity with and/or on reliance upon administrative regulations, orders,
rulings, approvals, interpretations or practices of the Federal Department of Labor and the

Florida Department of Economic Opportunity.

RESERVATION OF RIGHT TO SUPPLEMENT DEFENSES
The facts having not been fully developed by pleadings, Defendants reserve the right
to supplement these defenses with any additional affirmative defenses that may be applicable

following discovery.

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CERTIFICATE OF SERVICE
] HEREBY CERTIFY that on this 12th day of February, 2019, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system. I also certify
that the foregoing document is being served this day on all counsel of record and any pro se
parties identified on any attached Service List in the manner specified, either via transmission
of Notice of Electronic Filing generated by the CM/ECF system or in some other authorized
manner for those counsel or parties who are not authorized to receive electronic Notices of

Electronic Filing.

Respectfully Submitted,

/s/ Linda G. Pisani
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- 7:08 AM 7 100% Si

New iMessage Cancel

Ta: Tanya

Jun 24, 2097, 227 AM
John asked if it was you today...

| wonder if he'll call you

 

Gp sorry

 

Sweet!!!

 

Yes they told me Friday morning for Rolling
Hills.. so we need to update they website..
and one js due today, it's already typed
just need to put the pics in. | have to go to
gville with John today though so I'll come
by later this afternoon

 

Exhibit “1”

 
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>- 7:14 AM 100% =:

New iMessage Cancel

Te: Tanya

 

OK sounds good do you want me to make
the adjustments here at home and then
just email it back to you

 

OK give me some time.| had to take my
son for his well check up

Jun 23, 2017, 10°30 AM
Sent the revised report over so check your
Gmail and also left.a message for the
Belleview property Het you know when
she calls back

Summerfield! should say
3309 NE 23rd is today at 6

i'm on inspection with John right now

I have 1 more with him than lll be heading
to our 3:00, looks like we'll be working
hard all weekend... there were like 4 in
there | didn't have Gj G3

 

 

 
